Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 1 of 35



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 16-22254-CIV-GAYLES/McAliley

  CARMEN RINCON and CARLOS RINCON,
  as Personal Representatives of the Estate of
  Ethan Rincon, deceased,

         Plaintiffs,
  v.

  MIAMI-DADE COUNTY, et al.,

        Defendants.
  _______________________________________/

        DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED
           COMPLAINT AND INCORPORATED MEMORANDUM OF LAW

         Defendants, Sergeant Victor Evans, Officer John Dalton, Officer Brian Zamorski, and

  Officer Marlene Taborda of the Miami-Dade Police Department (“MDPD”) (collectively, the

  “Officers”) and Miami-Dade County (the “County”) (together with the Officers, “Defendants”)

  hereby move to dismiss all counts—I through VII—of the Fourth Amended Complaint

  (“Complaint”) [ECF No. 96] under Federal Rule of Civil Procedure 12(b)(6).

                                        INTRODUCTION

         On March 22, 2016, Sergeant Evans, Officer Dalton, and Officer Zamorski encountered

  21-year old Ethan Rincon wielding a pickaxe inside his home, and in response to the immediate

  threat posed by Ethan, discharged their firearms, killing Ethan. They had arrived, along with

  Officer Taborda, in response to various 911 calls that a subject matching Ethan’s description was

  committing vandalism with a weapon near the Rincon residence in Palmetto Bay, Florida.

  Moreover, just before the Officers entered the house and encountered the pickaxe-wielding

  Ethan, they learned from Ethan’s parents—Plaintiffs Carmen and Carlos Rincon—that Ethan’s

  parents were attempting to have Ethan involuntarily committed because he had been behaving in

  an emotionally unstable manner over the previous forty-eight hours.
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 2 of 35



           Now Plaintiffs, although they were outside the house throughout the incident, dispute

  what happened inside the house and allege the officers used excessive force in shooting Ethan,

  along with a host of other claims. For the reasons explained below, Plaintiffs fail to state a claim

  against the County, and—even at this stage—the Officers are entitled to qualified immunity as to

  the federal claims against them.

           Plaintiffs’ Fourth Amended Complaint asserts seven claims in total against five

  Defendants. Against the County, Plaintiffs assert two claims: Count I, an Americans with

  Disabilities Act (ADA) claim; and Count III, an excessive force claim brought pursuant to 42

  U.S.C. § 1983 under a municipal liability theory (in other words, a Monell claim). Against the

  four Officers, Plaintiffs assert six claims: Count I, an ADA claim; Count II, for excessive force

  pursuant to 42 U.S.C. § 1983; Count IV, a state law civil conspiracy claim; Count V, a state law

  wrongful death claim; Count VI, a state law wrongful death claim under a “gross negligence”

  theory; and Count VII, for intentional infliction of emotional distress.

           Defendants move to dismiss the Fourth Amended Complaint in its entirety. And given

  that this is the fifth iteration of Plaintiffs’ complaint, they should not get any further bites at the

  apple.

                                         LEGAL STANDARD

           To survive a motion to dismiss, a complaint must contain factual allegations which are

  “enough to raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 555 (2007). Thus, “[w]hile a complaint attacked by a Rule 12(b)(6) motion to dismiss

  does not need detailed factual allegations, a plaintiff’s obligation to provide the ‘grounds’ of his

  ‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic recitation of

  the elements of a cause of action will not do.” Id. (citations omitted). “Naked assertions devoid

  of further factual enhancement will not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

  (quoting Twombly, 550 U.S. at 557). Rather, the facts in the complaint must be sufficient to


                                                    2
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 3 of 35



  “nudge the[] claims across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.

  “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

  statements, do not suffice.” Iqbal, 556 U.S. at 678. Thus, a pleading that offers mere “labels and

  conclusions” or “a formulaic recitation of the elements of a cause of action” will not survive

  dismissal. Id.

         A pleading fails to meet the basic pleading requirements outlined by the Supreme Court

  and the Eleventh Circuit if it is peppered with “conclusory allegations, unwarranted deductions

  of fact [and] legal conclusions masquerading as facts.” Davila v. Delta Air Lines, Inc., 326 F.3d

  1183, 1185 (11th Cir. 2003). “Although for the purposes of a motion to dismiss we must take all

  of the factual allegations in the complaint as true, we ‘are not bound to accept as true a legal

  conclusion couched as a factual allegation.’” Iqbal, 556 U.S. at 677-79 (quoting Twombly, 550

  U.S. at 555). Moreover, the Eleventh Circuit has held that for purposes of a Rule 12(b)(6) motion

  to dismiss, a court does not have to take as true allegations based merely “upon information and

  belief.” Mann v. Palmer, 713 F.3d 1306, 1315 (11th Cir. 2013). The Supreme Court has

  recognized that Rule 8 “marks a notable and generous departure from the hypertechnical, code-

  pleading regime of a prior era, but it does not unlock the doors of discovery for a plaintiff armed

  with nothing more than conclusions.” Iqbal, 556 U.S. at 678-79. A plaintiff cannot deflect an

  attack on conclusory allegations with a promise to “flesh them out” after discovery. See Porter v.

  Ray, 461 F.3d 1315, 1324 (11th Cir. 2006) (“[T]he discovery rules do not permit the appellants to

  go on a fishing expedition.”).

                                           ARGUMENT

  I.     COUNT I FAILS TO STATE A CLAIM AGAINST THE OFFICERS OR THE
         COUNTY FOR DAMAGES UNDER THE ADA

         Plaintiffs attempt to state a claim for damages under the ADA against all Defendants—

  the County and the Officers—on the basis that the Officers should have interacted differently



                                                  3
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 4 of 35



  with Ethan that night, given his mental health issues, and “[i]t was unreasonable and improper

  for the MDPD Officers not to recognize that Ethan presented a mental health concern and to

  pursue alternative means.” Fourth Am. Compl. ¶ 83. Plaintiffs allege “[e]ach MDPD Officer had

  the authority to address the discrimination and other ADA violations but did not.” Id. ¶ 87.

  Eleventh Circuit law makes clear that Plaintiffs have failed to state a claim for relief in Count I.

         As an initial matter, the ADA claim against the Officers as individuals is not cognizable:

         It is well established in this circuit that “[o]nly public entities are liable for
         violations of Title II of the ADA.” Edison v. Douberly, 604 F.3d 1307, 1308 (11th
         Cir. 2010). See also Mason v. Stallings, 82 F.3d 1007, 1009 (11th Cir. 1996)
         (“We hold that the [ADA] does not provide for individual liability, only for
         employer liability”). Other circuits follow the same rule. See Garcia v. S.U.N.Y.
         Health Scis. Ctr. of Brooklyn, 280 F.3d 98, 107 (2d Cir. 2001); Alsbrook v.
         Maumelle, 184 F.3d 999, 1005 n.8 (8th Cir. 1999) (en banc). . . . Based on these
         authorities, the district court did not err by dismissing Mr. Mazzola’s claims
         against the defendants in their individual capacities. See Edison, 604 F.3d at 1310.

  Mazzola v. Davis, No. 17-14662, 2019 WL 2438885, at *2–3 (11th Cir. June 11, 2019).

         And as to the County, Plaintiffs fail to state a claim for damages under the ADA. Recent

  published Eleventh Circuit case law confirms that Count I—which seeks only damages under the

  ADA, and not injunctive relief—must be dismissed, even at this stage, because Plaintiffs have

  not stated a plausible claim for monetary relief under the ADA based upon the actions of the

  Officers that night. See Silberman v. Miami Dade Transit, No. 17-15092, 2019 WL 2498231, at

  *8 (11th Cir. June 17, 2019) (affirming dismissal of complaint for damages under the ADA

  where allegations were based on point-of-service denials by Miami-Dade employees).

         As a threshold issue, it is unclear whether Plaintiffs have even plausibly alleged a

  violation of the ADA, let alone a claim for damages. To state a claim for violation of Title II of

  the ADA, a plaintiff must allege that (1) he is a qualified individual with a disability, (2) he was

  discriminated against by a public entity, and (3) the discrimination was due to the disability. J.S.

  ex rel. J.S. v. Hous. Cty. Bd. of Educ., 877 F.3d 979, 985 (11th Cir. 2017). Plaintiffs do not




                                                    4
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 5 of 35



  plausibly allege a violation of the ADA because their allegations fail to establish how Ethan was

  discriminated against on the basis of his disability by the Officers; to the contrary, they seem to

  be seeking preferential treatment—“alternative means” (¶ 83)—for Ethan. Plaintiffs do not allege

  a single right that Ethan was afforded under the ADA, and how it was violated. Instead, Plaintiffs

  assert the legal conclusion: “Ethan’s rights under the ADA were violated by all of the

  Defendants.” Fourth Am. Compl. ¶ 88. This allegation is not a factual one, and must be

  disregarded as conclusory. See Edwards v. Prime, Inc., 602 F.3d 1276, 1291 (11th Cir. 2010).

          In fact, both the Supreme Court and the Eleventh Circuit have questioned whether police

  officers can even violate Title II of the ADA in the course of their duties. See City & County of

  San Francisco, Calif. v. Sheehan, 135 S. Ct. 1765, 1778-79 (2015) (Scalia, J., dissenting in part)

  (noting certiorari was granted to hear “whether Title II applies to arrests of violent, mentally ill

  individuals” – a “controverted question of law that has divided the Circuits” – and not to evaluate

  a case that assumed Title II applied to such arrests); see also Estate of Osorio v. Miami Dade

  County, 717 F. App’x 957, 957 (11th Cir. 2018) (“This court has never addressed whether police

  officers can violate Title II of the ADA.”).

          And the Eleventh Circuit has cited with approval the Fifth Circuit’s holding that Title II

  does not, in fact, apply to arrests: “Title II does not apply to an officer’s on-the-street responses

  to reported disturbances or other similar incidents . . . prior to the officer’s securing the scene and

  ensuring that there is no threat to human life.” Bircoll v. Miami-Dade County, 480 F.3d 1072,

  1083 (11th Cir. 2007) (emphasis removed) (quoting Hainze v. Richards, 207 F.3d 795, 801 (5th

  Cir. 2000) (holding that the ADA did not govern the actions of the officers, who “already face

  the onerous task of frequently having to instantaneously identify, assess, and react to potentially

  life-threatening situations”)).

          But more importantly, even if Plaintiffs had actually alleged a violation of Title II of the

  ADA, dismissal of Count I is still compelled because Plaintiffs seek only damages—not


                                                    5
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 6 of 35



  injunctive relief—under the ADA. See Fourth Am Compl. ¶¶ 74, 89.

                 In the ordinary course, proof of a Title II or § 504 violation entitles a
         plaintiff only to injunctive relief. Silva v. Baptist Health S. Fla., Inc., 856 F.3d
         824, 831 (11th Cir. 2017). To get damages—as Silberman seeks here—a plaintiff
         must clear an additional hurdle: he must prove that the entity that he has sued
         engaged in intentional discrimination, which requires a showing of “deliberate
         indifference.” Liese v. Indian River Cty. Hosp. Dist., 701 F.3d 334, 348 (11th Cir.
         2012).
                  “Deliberate indifference,” we have said, is an “exacting standard.” J.S.,
         877 F.3d at 987. It requires proof that “the defendant knew that harm to a
         federally protected right was substantially likely and . . . failed to act on that
         likelihood.” Liese, 701 F.3d at 344 (citation omitted). Moreover, in order to hold a
         government entity liable, the plaintiff must demonstrate that an “official who at a
         minimum has authority to address the alleged discrimination and to institute
         corrective measures on the [entity’s] behalf” had “actual knowledge of
         discrimination in the [entity’s] programs and fail[ed] adequately to respond.” Id.
         at 349 (quoting Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290, 118
         S.Ct. 1989, 141 L.Ed.2d 277 (1998)). To qualify, that “official” must be “high
         enough up the chain-of-command that his [or her] acts constitute an official
         decision by the [entity] not to remedy the misconduct.” J.S., 877 F.3d at 987
         (internal quotation marks omitted).

  Silberman, 2019 WL 2498231, at *6 (emphasis added; alterations in original); see also Estate of

  Osorio v. Miami-Dade County, 717 F. App’x 957, 958 (11th Cir. 2018) (affirming dismissal of

  ADA claim for damages where allegations relating solely to Miami-Dade police officers “failed

  to specify a single official who allegedly had authority to address the alleged discrimination,

  much less knowledge of and deliberate indifference to the alleged discrimination”).

         The Eleventh Circuit’s published decision in Silberman reaffirms that Plaintiffs’ claim

  for damages is not viable, even at the motion to dismiss stage. In Silberman, as here, the plaintiff

  sought only damages, not injunctive relief, under the ADA against the County. And in

  Silberman, as here, the plaintiff’s claim for damages was based on allegations that rank-and-file

  employees were “officials” for deliberate indifference purposes, and that these “officials” had

  violated the ADA through their interaction with the plaintiff. See Silberman, 2019 WL 2498231,

  at *5-9. In Silberman, as here, Plaintiffs’ “argument proves too much.” Id. at 8.



                                                   6
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 7 of 35



         Like in Silberman, Plaintiffs’ allegations regarding rank-and-file employees at a point of

  service do not state a plausible claim for damages. Plaintiffs’ allegations in support of their claim

  for damages under the ADA relate solely to actions taken by (1) the Officers (2) that night. See

  Fourth Am. Compl. ¶¶ 77-89. “Missing here are the key ingredients that have come to define the

  Liese test—namely, the action (or inaction) of an individual with ‘substantial supervisory

  authority’ within [the Department’s] ‘chain of command’ who knows that discrimination has

  taken place and is in a position to do something about it.” Silberman, 2019 WL 2498231, at *8

  (quoting Liese, 701 F.3d at 350). Plaintiffs do not state a claim for damages under the ADA, and

  given that this is the only relief sought in Count I, it must be dismissed.

  II.    THE OFFICERS ARE ENTITLED TO QUALIFIED                                   IMMUNITY          ON
         PLAINTIFFS’ EXCESSIVE FORCE CLAIM IN COUNT II

         Plaintiffs cannot state a claim for excessive force against the Officers in Count II because

  they are entitled to qualified immunity. The doctrine of qualified immunity shields a public

  official acting within his discretionary authority from civil liability unless he has violated a

  federal statutory or constitutional right and the unlawfulness of his conduct was clearly

  established at the time. District of Columbia v. Wesby, 138 S. Ct. 577, 589 (2018). “That

  qualified immunity protects government actors is the usual rule; only in exceptional cases will

  government actors have no shield against claims made against them in their individual

  capacities.” Redd v. City of Enterprise, 140 F.3d 1378, 1382 (11th Cir. 1998) (citation omitted);

  see also Alexander v. Univ. of N. Fla., 39 F.3d 290, 291 (11th Cir. 1994) (“qualified immunity

  for government officials is the rule, liability and trials for liability the exception”). “[Q]ualified

  immunity questions should be resolved at the earliest possible stage of a litigation.” Anderson v.

  Creighton, 483 U.S. 635, 646 (1987).

         Qualified immunity is a “muscular doctrine” grounded on the premise that “officials can

  act without fear of harassing litigation only when they can reasonably anticipate—before they act



                                                    7
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 8 of 35



  or do not act—if their conduct will give rise to damage liability for them.” Foy v. Holston, 94

  F.3d 1528, 1534 (11th Cir. 1996). “The ‘breathing room’ afforded by qualified immunity is

  generous; . . . ‘it protects all but the plainly incompetent or those who knowingly violate the

  law.’” Estate of Cummings v. Davenport, 906 F.3d 934, 940 (11th Cir. 2018) (quoting Ashcroft v.

  al-Kidd, 563 U.S. 731, 743 (2011)). It also “gives ample room for mistaken judgments.” Hunter

  v. Bryant, 502 U.S. 224, 229 (1991) (quotations omitted). “This accommodation for reasonable

  error exists because officials should not err always on the side of caution because they fear being

  sued.” Gold v. City of Miami, 121 F.3d 1442, 1445 (11th Cir. 1997) (citation omitted).

         To be entitled to qualified immunity, a defendant must first establish that he was acting

  within the scope of his discretionary authority. See Gray ex rel. Alexander v. Bostic, 458 F.3d

  1295, 1303 (11th Cir. 2006); Dalrymple v. Reno, 334 F.3d at 991, 995 (11th Cir. 2003). The

  defendant satisfies this burden if he shows that his actions were “(1) undertaken pursuant to the

  performance of his duties, and (2) within the scope of his authority.” Estate of Cummings, 906

  F.3d at 940 (citation omitted). In this instance, there can be no legitimate question that

  responding to the home of a vandalism suspect for the purpose of investigating or effecting an

  arrest is within the scope of discretionary authority of a police officer. Each of the Officers was

  “performing a legitimate job-related function (that is, pursuing a job-related goal) . . . through

  means that were within his power to utilize.” Estate of Cummings, 906 F.3d at 940. Thus, the

  burden shifts to Plaintiffs, who bear the burden to show that the Officers are not entitled to

  qualified immunity. Alcocer v. Mills, 906 F.3d 944, 951 (11th Cir. 2018). Their claims risk

  dismissal unless the facts as alleged show (1) that the Officers’ conduct violated a constitutional

  or statutory right; and, if so, (2) that such a right was clearly established at the time of that

  conduct. Baas v. Fewless, 886 F.3d 1088, 1093 (11th Cir. 2018).

         Plaintiffs cannot meet their burden to abrogate the Officers’ entitlement to qualified

  immunity on the excessive force claim. They cannot show that the Officers’ conduct violated the


                                                  8
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 9 of 35



  Fourth Amendment because the Officers were forced to make a split-second decision to use force

  when they confronted Ethan holding a pickaxe inside the house. Ethan, armed with a deadly

  weapon, posed a very real threat of serious physical harm to the Officers. Under these

  circumstances, the use of force was objectively reasonable, so, as a matter of law, the Officers

  are entitled to qualified immunity because their use of force did not violate Ethan’s constitutional

  rights. The Officers are also entitled to qualified immunity because they violated no clearly

  established right.

     A. The § 1983 claim against Officer Taborda in Count II fails as a matter of law.

         Officer Taborda was not one of the shooting officers, and Plaintiffs’ allegations regarding

  Officer Taborda’s involvement in this incident fall far short of stating a claim for excessive

  force. As an initial matter, there is no actual force alleged to have been used by Officer Taborda.

  See Fourth Am. Compl. ¶¶ 90-102. On its face, a claim for excessive force on Officer Taborda

  falls flat. But even generously construing the allegations against Officer Taborda as a claim for

  “failure to intervene,” Plaintiffs’ allegations do not state a claim against Officer Taborda.

         First, for the reasons that follow, Plaintiffs have not shown that the shooting officers

  committed a constitutional violation. “[A] duty to intervene only arises if a constitutional

  violation occurs in another officer’s presence.” Gainor v. Douglas County, Georgia, 59 F. Supp.

  2d 1259, 1289 (N.D. Ga. 1998) (citing Byrd v. Clark, 783 F.2d 1002, 1007 (11th Cir. 1986)).

  “[B]ecause there was no constitutional violation, there was no duty to intervene.” Id.

         Second, even if a constitutional violation had occurred, Plaintiffs’ allegations do not

  establish that Officer Taborda had a reasonable opportunity to intervene. “An officer who is

  present at the scene and who fails to take reasonable steps to protect the victim of another

  officer’s use of excessive force, can be held liable for his nonfeasance.” Hadley v. Gutierrez, 526

  F.3d 1324, 1330 (11th Cir. 2008) (citation omitted). “But it must also be true that the non-


                                                    9
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 10 of 35



   intervening officer was in a position to intervene yet failed to do so.” Id. at 1331 (emphasis

   added; citation omitted). Here, Plaintiffs’ allegations admit that Officer Taborda did not enter the

   Rincon residence and was therefore not present at the time of the shooting. See Fourth Am.

   Compl. ¶ 48 (“Only Evans, Dalton, and Zamorski participated in and witnessed the shooting.

   Defendant Taborda did not see the shooting as she was restraining the Plaintiffs at the front door

   of the residence.”). Given that Officer Taborda was not present for the shooting, she was clearly

   not in a position to intervene. Accordingly, Officer Taborda is entitled to qualified immunity as

   to Plaintiffs’ claim against her—whether construed as an excessive force claim or a claim for

   failure to intervene. See Hadley, 526 F.3d at 1331 (“Hadley presented no evidence from which a

   reasonable jury could find that Gutierrez could have anticipated and then stopped Ortivero from

   punching Hadley once in the stomach. Therefore, the district court erred in denying qualified

   immunity to Officer Gutierrez because he committed no constitutional violation.”); see also

   Marantes v. Miami-Dade County, 649 F. App’x 665, 672 (11th Cir. 2016) (“Marantes did not

   allege any facts that would allow us to conclude that the officers had time and were in a position

   to intervene.”).

      B. The Officers’ use of deadly force is justified because they had arguable probable
         cause to believe that Ethan posed a threat of death or serious physical harm to them.

          It is by now settled law that excessive force claims are analyzed “under the Fourth

   Amendment’s ‘objective reasonableness’ standard.” Salvato v. Miley, 790 F.3d 1286, 1293 (11th

   Cir. 2015). “[T]he question is whether the officers’ actions are ‘objectively reasonable’ in light

   of the facts and circumstances confronting them, without regard to their underlying intent or

   motivation.” Graham v. Connor, 490 U.S. 386, 388 (1989). “Determining whether the force used

   to effect a particular seizure is ‘reasonable’ under the Fourth Amendment requires a careful

   balancing of the nature and quality of the intrusion on the individual’s Fourth Amendment



                                                   10
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 11 of 35



   interests against the countervailing governmental interests at stake.” Id. at 396 (citations and

   internal quotation marks omitted). So too in the deadly force context, “[r]easonableness is

   dependent on all the circumstances relevant to an officer’s decision to use deadly force.” Jean-

   Baptiste v. Gutierrez, 627 F.3d 816, 821 (11th Cir. 2010).

           The Eleventh Circuit has distilled from Graham three factors to assist in analyzing the

   facts and circumstances of a particular case: “the severity of the crime at issue, whether the

   suspect pose[d] an immediate threat to the safety of the officers or others, and whether he []

   actively resist[ed] arrest or attempt[ed] to evade arrest by flight.” Crenshaw v. Lister, 556 F.3d

   1283, 1290 (11th Cir. 2009) (quoting Graham, 490 U.S. at 396). The second of these factors, and

   the most significant one here, “can be reduced to a single question: whether, given the

   circumstances, [the suspect] would have appeared to reasonable police officers to have been

   gravely dangerous.” Penley v. Eslinger, 605 F.3d 843, 850 (11th Cir. 2010) (citation and internal

   quotation marks omitted). A police officer may use deadly force “to dispel a threat of serious

   physical harm to either the officer or others.” Singletary v. Vargas, 804 F.3d 1174, 1181 (11th

   Cir. 2015). “[I]t is reasonable, and therefore constitutionally permissible, for an officer to use

   deadly force when he has ‘probable cause to believe that his own life is in peril.’” Id. (quoting

   Robinson v. Arrugueta, 415 F.3d 1252, 1256 (11th Cir. 2005)).

           The circumstances and events an officer faced “must be judged from the perspective of a

   reasonable officer on the scene, rather than with the 20/20 vision of hindsight.” Manners v.

   Canella, 891 F.3d 959, 973 (11th Cir. 2018) (quoting Graham, 490 U.S. at 396). “Perspective . .

   . is crucial to the analysis: ‘[t]he only perspective that counts is that of a reasonable officer on the

   scene at the time the events unfolded.’” Jean-Baptiste, 627 F.3d at 821 (quoting Garczynski v.

   Bradshaw, 573 F.3d 1158, 1166 (11th Cir. 2009)). When examining whether an officer’s use of

   deadly force is reasonable, courts are mindful that “police officers are often forced to make split-

   second judgments—in circumstances that are tense, uncertain, and rapidly evolving—about the


                                                     11
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 12 of 35



   amount of force that is necessary in a particular situation.” Graham, 490 U.S. at 396-97; see also

   Ryburn v. Huff, 565 U.S. 469, 477 (2012) (per curiam) (highlighting the “wise admonition that

   judges should be cautious about second-guessing a police officer’s assessment, made on the

   scene, of the danger presented by a particular situation”). It is important to note that immunity

   from a Fourth Amendment claim requires only that the officer “have arguable probable cause,

   not actual probable cause.” Garczynski, 573 F.3d at 1167 (emphasis added). Accordingly, these

   Officers are entitled to qualified immunity “if [they] ‘reasonably could have believed that

   probable cause existed, in light of the information [they] possessed,’ to shoot [Ethan], even if

   that belief was mistaken.” Jean-Baptiste, 627 F.3d at 821 (quoting Garczynski, 573 F.3d at

   1167).

            A reasonable officer on the scene would have had arguable probable cause to believe his

   life was in danger at the time the Officers shot Ethan. Accepting Plaintiffs’ well-pleaded

   allegations as true, here is the situation the Officers faced at the time of the incident. For starters,

   it was night. Compl. ¶ 18. Before they entered the house, the Officers knew that a suspect

   matching Ethan’s description had been damaging personal property in the neighborhood. Id. ¶¶

   18-19. They had been told not only that Ethan suffered from a mental illness and had been

   behaving in an emotionally unstable manner over the previous forty-eight hours, but also that his

   behavior was so serious, the family was in the process of filing a Baker Act petition to have

   Ethan held for an involuntary mental examination. Id. ¶¶ 22-23. The Officers did not know

   whether Ethan was alone inside the house, whether any other individual was inside, or what was

   taking place inside the house at that moment.1 When they entered the house, there was “absolute

   silence” inside. Id. ¶ 26. They walked directly toward Ethan’s bedroom, which was only fifteen

   1
     Plaintiffs try to state as fact that “no crime was in progress,” that “Ethan was alone in the house,” and
   that “there were no signs of Ethan having any intent to escape” (Compl. ¶ 26), but given Plaintiffs’
   admissions that they (1) were not home preceding this incident, (2) were not together preceding this
   incident as they arrived separately on scene, and (3) arrived after the Officers did (id. ¶ 21), these
   allegations are entirely speculative.


                                                       12
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 13 of 35



   to twenty steps away from the front door, so the passage of time between entry and confrontation

   was markedly brief. Id. ¶ 39. Ethan’s bedroom is located at the vertex of two hallways, so the

   Officers were in a confined space. Id. ¶ 38. And the door to Ethan’s bedroom opened only 70

   degrees at the most, further restricting the space the Officers had to maneuver should they have

   needed to access the bedroom. Id. ¶ 50. When they finally saw Ethan, they found him standing

   inside his room holding a pickaxe. Id.2 Considering the time of night, the “absolute silence”

   inside the house, the knowledge that the individual they were looking for was mentally ill and

   emotionally unstable, and the exceedingly short time that elapsed between the Officers’ entry

   and their discovery of Ethan, a reasonable officer would feel surprise and fear coming upon that

   individual holding a pickaxe inside his bedroom, just a few feet away. A reasonable officer,

   forced to make a split-second decision, would have arguable probable cause to use deadly force,

   believing that his life was in peril. See Singletary, 804 F.3d at 1181.

           Plaintiffs’ allegation that “it was not possible for Ethan to wield a pickaxe in any

   menacing way within the confined space of his bedroom” (Compl. ¶ 50), does not change the

   conclusion that Ethan “present[ed] . . . an imminent threat” and “would have appeared to

   reasonable police officers to have been gravely dangerous.” Penley, 605 F.3d at 851. Accepting

   as true the allegation that Ethan did not “attack” the Officers, “the legal premise that no

   reasonable officer could have feared serious injury or death unless the [pickaxe]-holding hand

   was raised up at the time is wrong.” Shaw v. City of Selma, 884 F.3d 1093, 1099 (11th Cir.

   2018). In Shaw, the Eleventh Circuit held that a police officer did not use excessive force when

   he shot a 74-year-old man who wielded a hatchet, despite assuming that the man did not raise the

   hatchet at the time the officer fired. At the time of that shooting, the man (Shaw) was “within a

   few feet” of the officer and “could have raised the hatchet in another second or two and struck

   2
     Critically, Plaintiffs dispute only Sergeant Evans’s statement that Ethan “attacked” them with a pickaxe;
   they do not contest that Ethan possessed a pickaxe inside his bedroom at the time he was shot, or even
   that he was holding the pickaxe at the time he was shot. See Compl. ¶¶ 41, 47-48, 50.


                                                       13
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 14 of 35



   [the officer] with it. Whether the hatchet was at Shaw’s side, behind his back, or above his head

   doesn’t change that fact.” Id. at 1100. The court found the shooting justified because “a

   reasonable officer could have believed that Shaw posed a threat of serious physical injury or

   death at that moment.” Id. A reasonable officer could have believed that Ethan posed a similar

   threat at the moment the Officers came upon him, given the reports of his emotional instability,

   the enclosed space in which Ethan and the Officers were located, the short distance between

   them, and the fact, which cannot be understated, that he was armed with a pickaxe inside a

   house. An individual holding a deadly weapon who could be perceived by a reasonable officer as

   “lying in wait” confronts that officer with “more than a possibility of harm,” and justifies the use

   of deadly force. Jean-Baptiste, 627 F.3d at 822.

          The few factual differences between the incident in Shaw and this incident serve to

   bolster the applicability of Shaw’s holding to these facts. The incident there took place almost

   entirely outside, in the middle of the afternoon, over the course of two minutes. Once the elderly

   Shaw picked up the hatchet, he first “slowly walk[ed] away” from the officers while they trailed

   him down the street from some distance; it wasn’t until the very end of the encounter that he

   stopped, turned around, and walked toward the shooting officer. Shaw, 884 F.3d at 1097. The

   court nevertheless found that Shaw presented an imminent threat to the officers, which justified

   the shooting.

          Compared to the circumstances the officers faced in Shaw, the Officers here were

   meaningfully restricted in both space and time. The Shaw officers had much more room to

   tactically maneuver, on public streets in broad daylight, than the Officers here had standing in a

   perpendicular dead-end of confined residential hallways at night. The Shaw officers also had

   more time to observe and react to 74-year-old Shaw’s movements than the split-second the

   Officers had to react to the threat 21-year-old Ethan posed. The officers there were never

   surprised by Shaw’s movements—holding the hatchet, he walked slowly away from them, then


                                                   14
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 15 of 35



   stopped, turned around, and walked slowly toward them; the entire encounter they had sight on

   both Shaw and the hatchet. Here, however, a reasonable officer would have been surprised to

   find Ethan standing in his bedroom holding a pickaxe. In all, the dispositive issue for the Shaw

   court was the “presence of an imminent threat” at the time of the shooting, which is precisely

   what the Officers faced—and what a reasonable officer would’ve faced—here. 884 F.3d at 1099

   (quoting Penley, 605 F.3d at 851).

          Shaw underscores what the Eleventh Circuit has made exceedingly clear for over a

   decade: “the law does not require officers in a tense and dangerous situation to wait until the

   moment a suspect uses a deadly weapon to act to stop the suspect.” Long v. Slaton, 508 F.3d 576,

   581 (11th Cir. 2007); see also Scott v. Harris, 550 U.S. 372, 385 (2007) (stating that police

   officers dealing with a suspect armed with a deadly weapon are not required to wait “and hope[]

   for the best”). Given the short distance between Ethan and the Officers, even before taking into

   account that the length of a pickaxe and the reach of the arm holding it would drastically reduce

   that distance, if not completely eliminate it, “[t]he officers were not required to wait and see if

   [Ethan] remained stationary” before firing. Garcyznski, 573 F.3d at 1167. Under the

   circumstances, the Officers’ use of force was objectively reasonable, and Plaintiffs cannot show

   that no reasonable officer would not have had at least arguable probable cause to use deadly

   force in response to what he perceived as a serious threat of physical harm.

          Several other allegations in the pleading merit scrutiny. First, Plaintiffs assert, in a

   conclusory manner, that the Officers “had no reason to believe that Ethan was a danger to

   anyone, including himself.” Compl. ¶ 26. Plaintiffs do not plausibly allege what the Officers

   perceived or thought because “[t]he state of mind of the defendant who commits a wrong is,

   more often than not, solely within the knowledge of that actor.” Prosper v. Martin, No. 17-

   20323, 2018 WL 3084062, at *2 (S.D. Fla. June 21, 2018) (quoting Alassar v. City of

   Homewood, No. 10-2100, 2010 WL 11565396, at *3 (N.D. Ala. Nov. 23, 2010)); see also id.


                                                   15
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 16 of 35



   (refusing to consider “conclusory allegations such as ‘Defendant Officer did not perceive the

   Decedent as engaged in any violent or threatening act’”).

             Second, Plaintiffs go into some detail about a “reconstruction of the scene of the

   shooting” that they believe “admits of only one conclusion: Ethan was well inside his bedroom at

   the time he was shot and killed, notwithstanding the fact that he posed no clear and present

   danger of serious bodily injury or death.” Compl. ¶ 49. The court’s decision in Prosper

   demonstrates that allegations like this one cannot be considered in ruling on a motion to dismiss.

   In Prosper, despite the fact that the officer was the only living witness to the incident, the

   plaintiff’s personal representative attempted to allege in her complaint that, immediately prior to

   the shooting, the decedent “was either on his knees or stomach when Defendant Officer

   approached.” Prosper, 2018 WL 3084062, at *3. The court refused to accept this allegation. It

   was not “supported by a factual basis establishing Plaintiff’s knowledge of the event as

   described,” because the personal representative was not present at the scene of the incident and

   she stated no basis for her knowledge as to what transpired. Id. The court highlighted the

   personal representative’s deficient allegations in a way that could just as easily describe

   Plaintiffs’. Indeed, if you change the names of the parties involved, it might as well be describing

   them:

                     Plaintiff[s] do[] not state in the [Complaint] the facts [they] allege, such as
             [Ethan] did not engage in any threatening act, are peculiarly within the possession
             and control of [the Officers], and [they] ha[ve] not pled any other basis for
             knowing what happened during the confrontation between [the Officers] and
             [Ethan]. . . . By failing to allege any basis for [their] knowledge, Plaintiff[s]
             ha[ve] not “nudged [their] claims across the line from conceivable to plausible” as
             federal pleading standards require.

   Id. (quoting Twombly, 550 U.S. at 570). Any allegation purporting to claim that Ethan did not

   pose a threat cannot be considered, as Plaintiffs have no basis of knowledge to claim that he

   didn’t.




                                                       16
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 17 of 35



          Next, Plaintiffs try to make much of the statement that Ethan, whether he committed the

   reported vandalism or not, was not committing a crime at the time of the shooting. See Compl. ¶¶

   19, 20, 26. Notwithstanding that this allegation is deficient for the same lack of knowledge just

   discussed, Shaw eviscerates Plaintiffs’ argument: “If a reasonable officer could have believed

   that under the circumstances [Ethan] posed a threat of inflicting serious injury or death on him,

   the shooting was objectively reasonable regardless of whether [Ethan] had already committed a

   crime or was resisting or attempting to evade arrest.” 884 F.3d at 1099 n.5.

          Finally, Plaintiffs’ continued insistence on what they perceive to be the “unlawfulness” of

   the Officers’ entry into the house (see Compl. ¶¶ 1, 4, 27, 35, 92) seems to suggest an attempt by

   Plaintiffs to rely on a now-defunct “provocation” rule, which in some jurisdictions previously

   permitted an excessive force claim “where an officer intentionally or recklessly provoke[d] a

   violent confrontation, if the provocation is an independent Fourth Amendment violation,” such

   as an unlawful search. Billington v. Smith, 292 F.3d 1177, 1189 (9th Cir. 2002). Whatever the

   viability of such a rule might have been in the Eleventh Circuit at some point in time, it is a

   nullity nationwide following the Supreme Court’s decision in County of Los Angeles v. Mendez,

   137 S. Ct. 1539 (2017). There, the Ninth Circuit had held that police officers’ reasonable use of

   force—shooting an individual who pointed a BB gun at them—became unreasonable because

   the officers had “intentionally and recklessly brought about the shooting” by entering the

   plaintiff’s residence without a warrant. Id. at 1545-46. The Supreme Court unanimously rejected

   the Ninth Circuit’s provocation rule as an impermissible conflation of distinct Fourth

   Amendment claims:

          [T]he objective reasonableness analysis must be conducted separately for each
          search or seizure that is alleged to be unconstitutional. An excessive force claim is
          a claim that a law enforcement officer carried out an unreasonable seizure through
          a use of force that was not justified under the relevant circumstances. It is not a
          claim that an officer used reasonable force after committing a distinct Fourth
          Amendment violation such as an unreasonable entry.



                                                   17
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 18 of 35



   Id. at 1547 (emphasis added). In the wake of Mendez, Plaintiffs’ allegations about an

   unreasonable entry into the house are irrelevant to an excessive force analysis. (In fact, they

   should be stricken because Plaintiffs do not raise an unreasonable search claim.) Plaintiffs have

   failed to state a constitutional violation. Their excessive force claim should be dismissed on

   qualified immunity grounds.

      C. Even if Plaintiffs had alleged a constitutional violation, Plaintiffs cannot show that
         the Officers’ conduct under the circumstances violated a clearly established right.

          “[C]learly established law must be ‘particularized’ to the facts of the case.” White v.

   Pauly, 137 S. Ct. 548, 552 (2017) (per curiam) (quoting Anderson, 483 U.S. at 640). In their

   meager attempt to define clearly established law, Plaintiffs can muster only an allegation that the

   Officers violated “clearly established constitutional law under the Fourth, Sixth, Eighth, and

   Fourteenth Amendments to the United States Constitution, guaranteeing the rights to be free

   from unreasonable search and seizure, to be free from cruel and unusual punishment, and the

   right to due process.” Compl. ¶ 100. This falls far short of Plaintiffs’ burden, which requires

   them to identify a case “where an officer acting under similar circumstances as [the Officers]

   was held to have violated the Fourth Amendment.” White, 137 S. Ct. at 552.

          “Use of excessive force is an area of the law ‘in which the result depends very much on

   the facts of each case,’ and thus police officers are entitled to qualified immunity unless existing

   precedent ‘squarely governs’ the specific facts at issue.” Kisela v. Hughes, 138 S. Ct. 1148, 1153

   (2018) (per curiam) (emphasis added) (quoting Mullenix v. Luna, 136 S. Ct. 305, 309 (2015) (per

   curiam)). The Supreme Court over the last eight years has consistently granted qualified

   immunity to officers in cases where plaintiffs and courts tried to define clearly established law

   “at a high level of generality.” al-Kidd, 563 U.S. at 742; see also City of Escondido v. Emmons,

   139 S. Ct. 500, 503 (2019); Kisela, 138 S. Ct. at 1152; Wesby, 138 S. Ct. at 590; White, 137 S.

   Ct. at 552; Mullenix, 136 S. Ct. at 308; Sheehan, 135 S. Ct. 1775-76; Plumhoff v. Rickard, 572



                                                   18
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 19 of 35



   U.S. 765, 779 (2014). “If case law, in factual terms, has not staked out a bright line, qualified

   immunity almost always protects the defendant.” Post v. City of Fort Lauderdale, 7 F.3d 1552,

   1557 (11th Cir. 1993), modified, 14 F.3d 583 (11th Cir. 1994).

          The pleading here, which cites no more than the bare text of constitutional amendments

   and calls that law “clearly established,” has contravened the settled principle of requiring

   specificity in defining clearly established law. “Such specificity is especially important in the

   Fourth Amendment context, where the Court has recognized that ‘[i]t is sometimes difficult for

   an officer to determine how the relevant legal doctrine, here excessive force, will apply to the

   factual situation the officer confronts.’” Mullenix, 136 S. Ct. at 308 (quoting Brosseau v.

   Haugen, 543 U.S. 194, 198 (2004) (per curiam)). “[I]t does not suffice for a court,” or a party for

   that matter, “simply to state that an officer may not use unreasonable and excessive force.”

   Kisela, 138 S. Ct. at 1153. Plaintiffs have not a single case, so they cannot abrogate the Officers’

   entitlement to qualified immunity. Count II should be dismissed with prejudice.

   III.   PLAINTIFFS FAIL TO STATE A CLAIM FOR MUNICIPAL LIABILITY IN
          COUNT III.

          Local governments cannot be held vicariously liable for the actions of their employees

   when their agents or employees have caused a constitutional injury. See Monell v. Dep’t of Social

   Servs., 436 U.S. 658, 691 (1978) (“[W]e conclude that a municipality cannot be held liable solely

   because it employs a tortfeasor—or, in other words, a municipality cannot be held liable under §

   1983 on a respondeat superior theory.”); see also City of Canton v. Harris, 489 U.S. 378, 385 (1989)

   (“Respondeat superior or vicarious liability will not attach under § 1983.”); Grech v. Clayton

   County, 335 F.3d 1326, 1329 (11th Cir. 2003) (en banc) (“A county’s liability under § 1983 may

   not be based on the doctrine of respondeat superior.”); Skop v. City of Atlanta, 485 F.3d 1130, 1145

   (11th Cir. 2007) (“[I]t is by now axiomatic that in order to be held liable for a §1983 violation, a




                                                   19
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 20 of 35



   municipality must be found to have itself caused the constitutional violation at issue; it cannot be

   found liable on a vicarious liability theory.”).

           A plaintiff has “two methods by which to establish a county’s policy: identify either (1)

   an officially promulgated county policy or (2) an unofficial custom or practice of the county

   shown through the repeated acts of a final policymaker for the county.” Grech, 335 F.3d at 1329.

   Perhaps recognizing that “a county rarely will have an officially-adopted policy of permitting a

   particular constitutional violation,” id. at 1330, Plaintiffs wisely do not attempt to allege

   municipal liability based on policy. They therefore must travel the custom route.

           “To prove § 1983 liability against a municipality based on custom, a plaintiff must

   establish a widespread practice [of violating the Constitution] that, ‘although not authorized by

   written law or express municipal policy, is so permanent and well settled as to constitute a

   “custom or usage” with the force of law.’” Brown v. City of Fort Lauderdale, 923 F.2d 1474, 1481

   (11th Cir. 1991) (quoting City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988)). Only a

   thoroughly engrained pattern of unconstitutional conduct will satisfy this standard so as to ensure

   that “a municipality is held liable only for those deprivations resulting from the decisions of its

   duly constituted legislative body or of those officials whose acts may fairly be said to be those of

   the municipality.” Craig v. Floyd County, 643 F.3d 1306, 1310 (11th Cir. 2011) (quoting Bd. of

   Cty. Comm’rs v. Brown, 520 U.S. 397, 403-04 (1997)). This pattern of unconstitutional conduct

   “is ordinarily necessary” to demonstrate that the municipality has had “such a longstanding and

   widespread practice [that it] is deemed authorized by the policymaking officials because they

   must have known about it but failed to stop it.” Id. (citations and internal quotation marks

   omitted).

           The Fourth Amended Complaint does not plausibly allege that the County had an

   unofficial custom or practice of violating the Constitution by using excessive force. Plaintiffs

   assert essentially three allegations (or groups of allegations) in support of their custom claim: (1)


                                                      20
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 21 of 35



   descriptions of five recent officer-involved incidents that resulted in shootings (Compl. ¶¶ 60,

   62-65; (2) descriptions of previous federal litigation involving the County and its officers where

   excessive force was alleged (id. ¶¶ 53-59); and (3) that Officer Dalton’s, Officer Zamorski’s, and

   Sergeant Evans’s employee profiles reveal that in the past two decades they were named in

   excessive force complaints (id. ¶ 68). Each of these allegations fails, as a matter of law, to

   support a custom finding.

      A. The wealth of legal conclusions and conclusory allegations must be excised.

          Before the Court proceeds to any analysis of the substance of the municipal liability

   claim, the Complaint’s numerous “conclusory allegations, unwarranted deductions of fact [and]

   legal conclusions masquerading as facts” must be identified and disregarded. Davila, 326 F.3d at

   1185. In this Circuit, a court evaluating the sufficiency of a complaint employs a two-step

   framework. McCullough v. Finley, 907 F.3d 1324, 1333 (11th Cir. 2018) (citing Iqbal, 556 U.S.

   at 679). It first identifies allegations that are no more than conclusions, which are not entitled to

   the assumption of truth, and disregards them. Id. It then assumes the veracity of the remaining

   factual allegations and determines whether they plausibly give rise to an entitlement to relief. Id.

          In multiple instances, Plaintiffs baldly assert legal conclusions. See Compl. ¶¶ 52, 61, 68,

   69. Most egregiously, paragraphs 104 through 110 are nothing but a diatribe of conclusory

   allegations and legal conclusions littered with references to the elements of a municipal liability

   claim. This Court has disregarded conclusions like these before. In Fernandez v. School Board of

   Miami-Dade County, No. 15-21915, 2015 WL 9474616 (S.D. Fla. Dec. 29, 2015) (Gayles, J.), the

   plaintiffs, who were asserting a Monell claim against the School Board based on custom, alleged

   that the constitutional violations they suffered “resulted from an unofficial custom or practice of

   the School Board of Miami-Dade County.” Id. at *4. This Court balked at that allegation and

   dismissed the claim: “This conclusory assertion is precisely the type of allegation that this Court

   has been directed to disregard under Twombly and Iqbal.” Id. The Court should rule consistently


                                                    21
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 22 of 35



   here. The “bare assertions” contained in these paragraphs “amount to nothing more than a

   ‘formulaic recitation of the elements’ of a [municipal liability] claim.” Iqbal, 556 U.S. at 681

   (quoting Twombly, 550 U.S. at 551).3

           These allegations—and the others described above—are not entitled to any assumption of

   truth. The County urges this Court to clear away this distracting underbrush in order to more

   fully view the dearth of facts supporting Plaintiffs’ municipal liability claim.

       B. The officer-involved incidents that took place in 2018 are immaterial to a custom
          claim because they both post-date this incident and involve dissimilar facts.

           A plaintiff cannot establish a Monell claim if he cannot point to prior incidents of

   unconstitutional conduct involving similar facts. Mercado v. City of Orlando, 407 F.3d 1152,

   1162 (11th Cir. 2005). “[C]ontemporanous or subsequent conduct cannot establish a pattern of

   violations that would provide notice to the [municipality] and the opportunity to conform to

   constitutional dictates . . . .” Connick v. Thompson, 561 U.S. 51, 63 n.7 (2011) (citation and

   internal quotation marks omitted). Without allegations evincing a pattern or practice of

   unconstitutional conduct that predates the incident here, it is impossible for Plaintiffs to establish

   that the municipality’s “deliberate conduct . . . was the ‘moving force’ behind [his] injuries.”

   McDowell v. Brown, 392 F.3d 1283, 1292 (11th Cir. 2004) (emphasis removed) (quoting Bd. of

   Cty. Comm’rs, 520 U.S. at 404); see also Nix v. Ayers, No. 16-3435, 2018 WL 3391213, at *1

   (M.D. Fla. May 15, 2018) (dismissing Monell claim where plaintiff failed to show “a history of


   3
     A number of other cases in this District have been disposed of on similar grounds. See, e.g., Casado v.
   Miami-Dade County, 340 F. Supp. 3d 1320, 1328 (S.D. Fla. 2018) (rejecting as conclusory under
   Twombly and Iqbal plaintiff’s allegation that “these patterns, and implied or explicit policies have been
   ratified by the highest decision maker of the [County’s] government leadership including the police, the
   chief, the mayor, city commissioners and/or high officials within the police department itself or other
   departments.”); Lordeus v. Miami-Dade County, 263 F. Supp. 3d 1307, 1310 (S.D. Fla. 2017) (dismissing
   Monell claim); Vila v. Miami-Dade County, 65 F. Supp. 3d 1371, 1378 (S.D. Fla. 2014) (“The vast
   majority of Plaintiff’s ‘custom or policy’ allegations are simply recitations of the elements of a section
   1983 cause of action without any supporting facts. Such conclusory allegations ‘carry no weight’ in the
   Court’s analysis, because ‘[c]onclusory allegations fail to apprise defendants of the factual basis of the
   plaintiff’s claims.’” (quoting Franklin v. Curry, 738 F.3d 1246, 1250-51 (11th Cir. 2013)).


                                                      22
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 23 of 35



   prior incidents similar to those at issue here”); Asia v. City of Miami Gardens, No. 14-20117,

   2016 WL 739656, at *8 (S.D. Fla. Feb. 25, 2016) (same); Davis v. McCarthy, No. 15-0138, 2015

   WL 5853662, at *9 (S.D. Ala. Aug. 26, 2015) (same); Whitaker v. Miami-Dade County, 126 F.

   Supp. 3d 1313, 1321 (S.D. Fla. 2015) (same); cf. Depew v. City of St. Marys, 787 F.2d 1496, 1501

   (11th Cir. 1986) (holding that trial evidence that “revealed sufficient prior incidents where the

   police had used excessive force to put the city on notice” was “sufficient to support a finding that

   the city’s officials implicitly ratified a custom which resulted in plaintiffs’ injuries”).

           This timing requirement eliminates all of the officer-involved incidents Plaintiffs

   reference in paragraphs 62 through 65, each of which allegedly occurred in 2018—well after the

   date of this incident in March 2016. See Simmons v. Bradshaw, 879 F.3d 1157, 1168 (11th Cir.

   2018) (affirming district court’s “thorough” finding that the plaintiff “failed to demonstrate prior

   constitutional violations with respect to [municipality’s] officer-involved shootings” (emphasis

   in original)).0, which involves a completely different universe of facts than does this case: a

   prolonged police chase pursuing an individual who, following a robbery of a Walgreens, shot a

   police officer and stole his patrol car; officers later shot the individual after he got into an

   accident in a second car he drove after he abandoned the stolen patrol car. See Compl. ¶ 60.

   Plaintiffs’ allegations about these incidents do not support a Monell claim.

       C. The prior cases Plaintiffs cite are immaterial to a custom claim.

           Plaintiffs attempt to support a finding of an unconstitutional custom by citing seven

   cases, filed between 2012 and 2016, in which the plaintiffs alleged excessive force at the hands

   of MDPD officers. For multiple reasons, these cases are irrelevant for Monell purposes.

           At the outset, the allegations must be rejected as conclusory and speculative because they

   fail to describe any facts about which Plaintiffs have any actual knowledge whatsoever. Cf.

   Prosper v. Martin, No. 17-20323, 2018 WL 3084062, at *3 (S.D. Fla. June 21, 2018) (rejecting

   personal representative’s allegations about a police shooting because “[n]owhere in the


                                                     23
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 24 of 35



   [complaint] does Plaintiff explain how she knows these events occurred or on what basis she

   alleges these facts,” and explaining that “[a]n allegation as specific as ‘[t]he Decedent at this time

   was either on his knees or stomach when Defendant Officer approached’ must be supported by a

   factual basis establishing Plaintiff’s knowledge of the event as described” (citation omitted)). A

   number of the allegations are merely regurgitations of unproven allegations contained within the

   pleadings filed in those other actions. Compare, e.g., Compl. ¶ 53, with Compl. ¶ 14, Calderin v.

   Patterson, No. 13-21069 (S.D. Fla. Mar. 26, 2013), ECF No. 1 (“He slowly and in a non-

   threatening manner began to display a sheathed knife he was carrying.”), attached hereto as

   Exhibit A;4 and compare Compl. ¶ 58, with Compl. ¶ 73, Martinez v. Miami-Dade County, No.

   12-23534 (S.D. Fla. Sept. 28, 2012), ECF No. 1 (“Fortunately for Plaintiff [], and unbeknownst to

   Defendants HUERTA and FLEITES, a video of the majority of the episode was recorded by a

   mall surveillance camera which shows that the events at issue did not transpire in the manner as

   described in the Arrest Report prepared by Defendant FLEITES.”), attached hereto as Exhibit B.

           Plaintiffs then disingenuously try to pass off as proof of a custom allegations of excessive

   force from three cases in which the County prevailed. First, in paragraph 55, Plaintiffs neglect to

   mention that Judge Williams dismissed all claims in that case and entered final judgment in the

   County’s favor as a sanction for the plaintiff’s “flagrant noncompliance with nearly every Court

   order that has been issued.” Soto v. Miami-Dade County, 281 F. Supp. 3d 1320, 1324 (S.D. Fla.

   2017). The Eleventh Circuit affirmed that judgment. Soto v. Miami-Dade County, No. 18-10170,

   2019 WL 286153 (11th Cir. Jan. 22, 2019).


   4
     On a motion to dismiss, courts are ordinarily limited to considering the face of the complaint and any
   documents attached to it. However, “a district court may consider an extrinsic document even on Rule
   12(b)(6) review if it is (1) central to the plaintiff’s claim, and (2) its authenticity is not challenged.”
   United States ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 811 (11th Cir. 2015). Along these lines, a
   district court “may take judicial notice of and consider documents which are public records, [and] that are
   attached to a motion to dismiss.” JAWHBS, LLC v. Arevalo, No. 15-24176, 2016 WL 4142498, at *7
   (S.D. Fla. Aug. 4, 2016) (Gayles, J.) (quoting Eisenberg v. City of Miami Beach, 1 F. Supp. 3d 1327,
   1337 (S.D. Fla. 2014)).


                                                       24
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 25 of 35



           Next, in describing Estate of Osorio v. Miami-Dade County, see Compl. ¶ 56, Plaintiffs

   conveniently omit that Judge Scola dismissed the plaintiff’s § 1983 claim against the County not

   once, not twice, but three times for failing to satisfy Monell. See Estate of Osorio v. Miami-Dade

   County, 191 F. Supp. 3d 1366, 1370 (S.D. Fla. 2016); Estate of Osorio v. Miami-Dade County,

   No. 16-20200, 2016 WL 9526401, at *3 (S.D. Fla. Oct. 28, 2016); Estate of Osorio v. Miami-

   Dade County, No. 16-20200, 2017 WL 3721505, at *2 (S.D. Fla. Feb. 10, 2017). The Eleventh

   Circuit affirmed that final dismissal. See Estate of Osorio, 717 F. App’x at 957-58.

           And finally, in repeating the allegations in Cordoves v. Miami-Dade County, see Compl. ¶

   57, Plaintiffs fail to state that Judge Altonaga granted summary judgment to the officer after

   concluding that (1) the officer used de minimis force; (2) the use of force was lawful; and (3) the

   plaintiff had not otherwise carried her burden of abrogating the officer’s entitlement to qualified

   immunity. Cordoves v. Miami-Dade County, 92 F. Supp. 3d 1221, 1236-38 (S.D. Fla. 2015).

           Notwithstanding Plaintiffs’ liberal use of the paraphrase and their seeming inability to

   recognize that cases they rely on resulted in findings in the County’s favor, the prior litigation

   also substantively does not support a custom claim. Six of the seven cited cases did not “involve[]

   factual situations that are substantially similar to the case at hand.” Mercado, 407 F.3d at 1162.

   This factual-similarity requirement sweeps the legs out from under Plaintiffs’ attempt to use

   them:

      •    Calderin (Compl. ¶ 53) involved a plaintiff who allegedly was approached on the street
           by MDPD officers and was shot after he displayed a knife in response to an officer’s
           question whether he possessed any weapons. See Exhibit A ¶¶ 12-15.
      •    Barnes v. Miami-Dade Police Department (Compl. ¶ 54) involved a plaintiff who
           allegedly was shot after running from MDPD officers in an unmarked car. See Am.
           Compl. ¶¶ 19-48, Barnes v. Miami-Dade Police Dep’t, No. 13-20778 (S.D. Fla. Apr. 5,
           2013), ECF No. 6, attached hereto as Exhibit D.
      •    Soto allegedly involved an altercation between a plaintiff and two MDPD officers after
           the plaintiff got into an argument with a county official at a Miami-Dade Code
           Compliance Board of Rules and Appeals meeting; the officers allegedly beat the plaintiff
           and her father inside an elevator, left the plaintiff in the back of a patrol car for an hour,



                                                    25
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 26 of 35



          drove the plaintiff to a second location, then left her in the back of the patrol car for
          another hour, after which she passed out. See Exhibit C ¶¶ 12-55. (Regardless, the plaintiff
          lost. See Soto, 281 F. Supp. 3d at 1324.)
      •   Cordoves allegedly involved an altercation at a mall between a plaintiff and an MDPD
          officer; the officer was told by a mall security guard that the plaintiff had hit him, and the
          officer used force in arresting the plaintiff. See Compl. ¶¶ 11-32, Cordoves v. Miami-
          Dade County, No. 14-20114 (S.D. Fla. July 31, 2014), ECF No. 52, attached hereto as
          Exhibit E. (Regardless, the plaintiff lost. See Cordoves, 92 F. Supp. 3d at 1236-38.)
      •   Martinez allegedly involved MDPD officers who tackled and arrested a plaintiff while
          doing off-duty security detail at a bar-restaurant. See Exhibit B ¶ 13-22.
      •   And Robertson v. Miami-Dade County allegedly involved plaintiffs who were attacked
          by MDPD officers investigating a robbery suspect they believed to be on the premises of
          the plaintiffs’ restaurant. See Fifth Am. Compl. ¶¶ 12-21, Robertson v. Miami-Dade
          County, No. 15-24371 (S.D. Fla. Jan. 19, 2016), ECF No. 19, attached hereto as Exhibit
          F.

   The facts alleged in these cases do not even closely approximate those alleged in the incident

   here, where officers entered the home of an individual suspected of vandalism—who, by

   Plaintiffs’ own admission, had a mental illness and had been behaving so “emotionally unstable”

   for the previous forty-eight hours that Plaintiffs and their attorney were trying to file a Baker Act

   petition against him—and shot him after he attacked them with a pickaxe. Compl. ¶¶ 18-19, 23.

   The only case that allegedly involved the shooting of an individual with a mental illness in his

   home is Osorio—a case in which the Eleventh Circuit affirmed the district court’s dismissal of

   the Monell claim for failure to state a claim. See Estate of Osorio, 717 F. App’x 957.

          Even had all of the cases involved similar facts, they would still be of no help to

   Plaintiffs, because none resulted in a finding that an officer’s conduct was “deemed unjustified,

   unconstitutional, or [was] anything other than legitimate.” Whitaker, 126 F. Supp. 3d at 1321. For a

   prior incident to have any weight in supporting the allegation of a custom, it must have resulted

   in a finding that a constitutional violation occurred. See Weiland v. Palm Beach Cty. Sheriff’s

   Office, 792 F.3d 1313, 1329 n.21 (11th Cir. 2015) (affirming the dismissal of a Monell claim

   where allegations about prior shootings of the mentally ill that might have given the sheriff’s

   office notice of a constitutionally questionable policy or custom did not include allegations that


                                                    26
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 27 of 35



   the shootings had given rise to “similar constitutional violations” as the ones allegedly suffered by

   the plaintiffs (citation omitted)). None of the Plaintiffs’ cited cases resulted in that required

   finding:

      •     All claims in Calderin were dismissed with prejudice following a joint stipulation by the
            parties. See Final Order of Dismissal and Order Denying All Pending Motions as Moot,
            Calderin v. Schottenheimer, No. 13-21069 (S.D. Fla. Dec. 4, 2015), ECF No. 83, attached
            hereto as Exhibit G. No constitutional violation was found.
      •     The parties settled all claims in Barnes. See Notice of Settlement, Barnes v. Miami-Dade
            County, No. 13-20778 (S.D. Fla. Jan. 26, 2015), ECF No. 72, attached hereto as Exhibit H.
            No constitutional violation was found.
      •     As stated previously, final judgment in Soto was entered in the County’s favor. Soto, 281 F.
            Supp. 3d 1320, aff’d, 2017 WL 286153. No constitutional violation was found.
      •     As stated previously, all claims in Estate of Osorio were dismissed with prejudice. See
            Estate of Osorio, 2017 WL 3721505, at *2. No constitutional violation was found.
      •     And as stated previously, the court in Cordoves granted summary judgment to the officer.
            Cordoves, 92 F. Supp. 3d at 1236-38. No constitutional violation was found.
      •     All claims in Martinez against the County and the officers were settled by the parties in
            the middle of the case, while the plaintiffs continued litigating claims against the bar-
            restaurant. See Notice of Partial Settlement, Martinez v. Miami-Dade County, No. 12-
            23534 (S.D. Fla. July 31, 2013), ECF No. 58, attached hereto as Exhibit I. No
            constitutional violation was found.
      •     All claims in Robertson were dismissed with prejudice following a joint stipulation after
            the claims were settled at mediation. See Stipulation for Dismissal With Prejudice,
            Robertson v. Miami-Dade County, No. 15-24371 (S.D. Fla. Mar. 28, 2016), ECF No. 39,
            attached hereto as Exhibit J. No constitutional violation was found.

   So with all Plaintiffs’ irrelevant allegations about the cases stripped away, it becomes clearer that

   Plaintiffs cited seven random, factually dissimilar cases, three in which the County prevailed,

   and all in which resulted in no finding of a constitutional violation. They do not support a Monell

   claim.

      D. The nonmeritorious excessive force complaints against the three officers are
         immaterial to a custom claim.

            This leaves Plaintiffs’ allegations—unsurprisingly devoid of supporting detail—that

   Officer Dalton, Officer Zamorski, and Sergeant Evans have been the subject of excessive force

   complaints over the past twenty-plus years. If prior complaints against officers are not


                                                    27
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 28 of 35



   meritorious, they are a nonfactor in the Monell calculus. See Simmons, 879 F.3d at 1168; Brooks

   v. Schleib, 813 F.2d 1191 (11th Cir. 1987). In Brooks, the Eleventh Circuit held that although

   there had been ten complaints about an officer defendant, the municipality had no notice of

   misconduct for purposes of Monell because the plaintiff “never demonstrated that the past

   complaints of police misconduct had any merit.” Brooks, 813 F.2d at 1193. That multiple

   complaints were lodged against the three officers here is of no consequence, for “the number of

   complaints bears no relation to their validity.” Id. Plaintiffs do not allege that any of the

   complaints against the officers were meritorious; they just allege that the complaints exist, which

   in insufficient in this Circuit.

           Without i) the legal conclusions; ii) the other incidents; iii) the prior cases; and iv) any

   meritorious complaints, Plaintiffs are forced to resort to relying on allegations about this incident

   alone, “which is, at most, ‘[p]roof of a single incident of unconstitutional activity’ [that] is ‘not

   sufficient to impose liability’ under section 1983.” Craig, 643 F.3d at 1312 (quoting City of

   Oklahoma City v. Tuttle, 471 U.S. 808, 823-24 (1985)). They cannot demonstrate any

   “widespread abuse” that is “obvious, flagrant, rampant, and of continued duration,” just this

   “isolated occurrence[].” Keith v. DeKalb County, 749 F.3d 1034, 1048 (11th Cir. 2014) (emphasis

   added) (quoting Hartley v. Parnell, 193 F.3d 1263, 1269 (11th Cir. 1999)). Their own experience

   is not enough to hold the County liable for violating § 1983.

           Having cited no actual evidence of a municipal custom, the Fourth Amended Complaint

   “read[s] as an attempt to hold the [County] liable for the actions of [its] employees . . . . But this

   type of respondeat superior liability is specifically proscribed under Monell, and the Court

   [should] not entertain such claims here.” Fernandez, 2015 WL 9474616, at *4 (Gayles, J.). At

   bottom, “[t]he Supreme Court has mandated that ‘rigorous standards of culpability and causation’

   must be satisfied to impose municipal liability.’ The Plaintiffs’ allegations fail to meet those

   rigorous standards.” Id. (citation omitted) (quoting Bd. of Cty. Comm’rs, 520 U.S. at 405).


                                                    28
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 29 of 35



   Accordingly, the municipal liability claim in Count III must be dismissed with prejudice.

   IV.      THE STATE LAW CLAIMS SHOULD BE DISMISSED.5

         A. The common-law conspiracy claim in Count IV fails to state a claim.

            Under Florida law, stating a claim for civil conspiracy requires the plaintiff to allege (1)

   “an agreement between two or more parties”; (2) “to do an unlawful act or to do a lawful act by

   unlawful means”; (3) “the doing of some overt act in pursuance of the conspiracy”; and (4)

   “damage to plaintiff as a result of the acts done under the conspiracy.” Charles v. Fla.

   Foreclosure Placement Ctr., LLC, 988 So. 2d 1157, 1159-60 (Fla. 3d DCA 2008) (citation

   omitted).

            1.     Plaintiffs’ conclusory allegations of an agreement do not suffice.

            The fact of an agreement may be based on circumstantial evidence, Burrell v. Bd. of Trs.,

   970 F.2d 795, 789 (11th Cir. 1992), but “an allegation of parallel conduct and a bare assertion of

   conspiracy will not suffice,” Twombly, 550 U.S. at 556. That is exactly what Plaintiffs alleges

   here: (1) parallel conduct (Sergeant Evans, Officer Dalton, and Officer Zamorski invoked their

   Garrity privilege to decline to speak to FDLE; Officer Taborda spoke to FDLE; and someone

   told the MDPD spokesperson that Ethan attacked the Officers with a pickaxe) and (2) bare

   assertions of conspiracy (the Officers “conspired, confederated, agreed, and collaborated”).

   Twombly makes clear that allegations like these do not amount to a claim for conspiracy:

   “Without more, parallel conduct does not suggest conspiracy, and a conclusory allegation of

   agreement at some unidentified point does not supply facts adequate to show illegality.” 550

   U.S. at 556-57; see also id. at 557 (“[T]erms like ‘conspiracy,’ or even ‘agreement,’ are border-


   5
    If the Court dismisses the federal claims, it should simply decline to exercise supplemental jurisdiction
   over Plaintiffs’ state law claims, pursuant to 28 U.S.C. § 1367(c)(3), which grants a district court the
   authority to dismiss pendant state-law claims when the court has dismissed all claims over which it had
   original jurisdiction. See United States ex rel. Brown v. BankUnited Tr. 2005-1, 235 F. Supp. 3d 1343,
   1362 (S.D. Fla. 2017) (Gayles, J.), appeal dismissed, No. 17-10821, 2017 WL 3741069 (11th Cir. Mar. 9,
   2017); Fischer v. Fed. Nat’l Mortg. Ass’n, 302 F. Supp. 3d 1327, 1333 (S.D. Fla. 2018) (Gayles, J.).


                                                      29
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 30 of 35



   line: they might well be sufficient in conjunction with a more specific allegation—for example,

   identifying a written agreement or even a basis for inferring a tacit agreement, . . . but a court is

   not required to accept such terms as a sufficient basis for a complaint.” (quoting DM Research,

   Inc. v. Coll. of Am. Pathologists, 170 F.3d 53, 56 (1st Cir. 1999))). By failing to plausibly allege

   an agreement in a non-conclusory manner, and to support that allegation with facts, Plaintiffs

   state no claim for conspiracy under state law.

          2.      The intracorporate conspiracy doctrine bars the claims.

          Even had the Plaintiffs actually stated the elements of either cause of action, the Officers

   are protected from both by the intracorporate conspiracy doctrine. “The intracorporate

   conspiracy doctrine holds that acts of corporate agents are attributed to the corporation itself,

   thereby negating the multiplicity of actors necessary for the formation of a conspiracy.”

   McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1036 (11th Cir. 2000) (en banc). “Simply

   put, under the doctrine, a corporation cannot conspire with its employees, and its employees,

   when acting in the scope of their employment, cannot conspire among themselves.” Id. This

   doctrine applies with equal force to municipalities and their employees. See Dickerson v.

   Alachua Cty. Comm’n, 200 F.3d 761 (11th Cir. 2000) (“[T]he County jail and its employees are

   considered to constitute a single legal entity that cannot conspire with itself.”). Florida courts

   recognize the doctrine, as well. E.g., Mancinelli v. Davis, 217 So. 3d 1034, 1036-37 (Fla. 4th

   DCA 2017).

          All four Officers are County employees. Plaintiffs allege that each of the Officers was

   acting outside the scope of his or her discretionary authority, but “the question of whether a

   defendant acted within the scope of his employment is distinct from whether the defendant acted

   unconstitutionally.” Grider v. City of Auburn, 618 F.3d 1240, 1261 (11th Cir. 2010). “The scope-

   of-employment inquiry is whether the employee police officer was performing a function that,

   but for the alleged constitutional infirmity, was within the ambit of the officer’s scope of


                                                    30
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 31 of 35



   authority (i.e., job-related duties) and in furtherance of the employer’s business.” Id. In Grider,

   the Eleventh Circuit invoked the intracorporate conspiracy doctrine to dismiss a conspiracy claim

   where the plaintiff alleged that two police officers conspired to make a false bribery charge

   against him. The court found that it was within one of the officer’s job duties to file and

   prosecute violations of law, including bribery, for the inquiry was “not whether Officer Crook

   had the authority to prosecute in an unconstitutional manner and with malicious intent, but

   instead whether engaging in prosecutions is part of Crook’s job-related powers and

   responsibilities.” Id. at 1262. Similarly here, the inquiry is not whether the Officers have been

   granted authority by the County to obstruct an investigation or give false statements, but instead

   whether giving a statement to investigating authorities—or invoking Garrity to decline to do

   so—is part of the Officers’ job-related powers and responsibilities. Of course they are. See, e.g.,

   Meyer v. City of Gainesville, No. 15-0185, 2016 WL 674659, at *5 (N.D. Fla. Jan. 7, 2016)

   (rejecting plaintiff’s outside-the-scope-of-employment argument because “[t]here is little doubt

   that when the officers arrested Plaintiff the officers were performing a function that was in the

   ambit of their scope of authority as police officers”); Little v. Dean, No. 13-0165, 2014 WL

   4388298, at *17 (N.D. Ala. Aug. 29, 2014) (finding that coordinating enforcement of city’s

   nuisance procedures “fell squarely within the scope” of defendant’s job as code official, despite

   plaintiff’s allegations that the defendant made false statements in support of an arrest warrant);

   Villar v. City of Aventura, No. 13-22708, 2014 WL 3400988, at *8 (S.D. Fla. July 11, 2014)

   (holding police officers were acting within the scope of their authority for purposes of an

   intracorporate conspiracy doctrine analysis when they arrested and apprehended the plaintiff,

   despite plaintiff’s allegations that the officers used excessive force).

          The doctrine bars Plaintiffs’ conspiracy claim, because the Officers cannot conspire with

   each other as a matter of law. See Rehberg v. Paulk, 611 F.3d 828, 854 (11th Cir. 2010) (“The

   ‘conspiracy’ occurred only within a government entity, and thus the intracorporate conspiracy


                                                     31
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 32 of 35



   doctrine bars [the claim].”).

       B. Plaintiffs’ state-law wrongful death claim in Count V fails as a matter of law
          because the use of force at issue was reasonable under the circumstances.

           In addition to the § 1983 excessive force claim, Plaintiffs assert a state-law wrongful

   death claim, contending the Officers used excessive force which caused Ethan’s death. A law

   enforcement officer is provided a complete defense to an excessive use of force claim where the

   officer, in effectuating a lawful arrest, “reasonably believes [the use of any force, including

   deadly force] to be necessary to defend himself or another from bodily harm while making the

   arrest.” Fla. Stat. § 776.05(1). “The question of whether or not deadly force was reasonable

   under section 776.05(1), as with the Fourth Amendment, is an objective inquiry. ‘[A] police

   officer is entitled the defense under Section 776.05(1) merely by establishing that the use of

   force was objectively reasonable.’” Fontanez v. Lamberti, No. 10-61428, 2011 WL 4499016, at

   *14 (S.D. Fla. Sept. 27, 2011) (quoting Btesh v. City of Maitland, No. 10-0071, 2011 WL

   3269647, at *26 (M.D. Fla. July 29, 2011)). If a court finds that a use of deadly force is

   objectively reasonable under the Fourth Amendment, no further analysis of the use of force

   under state law is necessary. See Davis v. Williams, 451 F.3d 759, 768 (11th Cir. 2006); Btesh,

   2011 WL 3269647, at *26. As discussed above, the facts alleged in the Fourth Amended

   Complaint show that, under the circumstances, the Officers’ belief that deadly force was

   necessary to defend from bodily harm was reasonable. Count V should be dismissed.6


   6
     In the event the Court denies the motion to dismiss this claim on § 776.05 grounds, the Officers make
   clear their intention to thereafter invoke their entitlement to an evidentiary hearing based on the immunity
   afforded to them by Florida’s Stand Your Ground law. The Stand Your Ground law provides, in relevant
   part, that a person “is justified in using . . . deadly force if he or she reasonably believes that using . . .
   such force is necessary to prevent imminent death or great bodily harm to himself or herself or another.”
   Fla. Stat. § 776.012(2). Any person who uses force as permitted by the law is immune from civil action
   for that use of force. Id. § 776.032(1). A law enforcement officer is entitled to invoke Stand Your Ground
   immunity in response to a civil excessive force claim:
            Because these statutes [Fla. Stat. §§ 776.012(2) & 776.032(1)] plainly and
            unambiguously afford Stand Your Ground immunity to any “person” who acts in self-
            defense, there should be no reason for further analysis. Put simply, a law enforcement


                                                         32
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 33 of 35



       C. The Florida Wrongful Death Act does not permit a claim sounding in gross
          negligence that arises from an alleged use of excessive force (Count VI).

           Plaintiffs assert a second wrongful death against the Officers, this time under a theory of

   gross negligence. Under Florida’s Wrongful Death Act, a wrongful death claim arises “[w]hen

   the death of a person is caused by the wrongful act, negligence, or breach of contract or warranty

   of any person.” Fla. Stat. § 768.19. Although the act does “allow[] for recovery where the death

   is caused by negligence, when a plaintiff’s allegations concern excessive force, the liability must

   arise from intentional torts.” Fontanez, 2011 WL 4499016, at *13; see also Vaughn v. City of

   Orlando, No. 07-1695, 2009 WL 3241801, at *8 (M.D. Fla. Sept. 29, 2009) (“Any liability under

   state law attributed to Officer Smith for the use of excessive force must arise from the intentional

   tort of battery, not negligence.”), aff’d, 413 F. App’x 175 (11th Cir. 2011). “[I]t is not possible to

   have a cause of action for ‘negligent’ use of excessive force because there is no such thing as the

   ‘negligent’ commission of an ‘intentional’ tort.” City of Miami v. Sanders, 672 So. 2d 46, 48

   (Fla. 3d DCA 1996); accord Estate of Osorio v. Miami-Dade County, 191 F. Supp. 3d 1366,

   1368-69 (S.D. Fla. 2016). The wrongful death claim in Count VI is explicitly asserted under a


           officer is a “person” whether on duty or off, and irrespective of whether the officer is
           making an arrest. Although neither of the two statutes defines the word “person,” it must
           be given its plain and ordinary meaning. In common understanding, “person” refers to a
           “human being,” which is not occupation-specific and plainly includes human beings
           serving as law enforcement officers.
   State v. Peraza, 259 So. 3d 728, — (Fla. 2018) (citations and internal quotation marks omitted). The
   law’s immunity provision, § 776.032(1), “is a true immunity provision, not merely an affirmative defense,
   which requires a trial court to adjudicate disputed fact issues rather than passing them on to a jury as it
   would an affirmative defense.” State v. Yaqubie, 51 So. 3d 474, 476 (Fla. 3d DCA 2010). The Officers
   anticipate demanding an evidentiary hearing, which the Court must hold. See Prof’l Roofing & Sales, Inc.
   v. Flemmings, 138 So. 3d 524, 530 (Fla. 3d DCA 2014) (“[D]etermining such an immunity claim on a
   motion for summary judgment is not appropriate. Rather, the appropriate procedure for determining such
   a claim . . . requires an evidentiary hearing to confront and weigh factual disputes, wherein the defendant
   bears the burden of establishing, by a preponderance of the evidence, entitlement to the immunity
   conferred by the Stand Your Ground law.”); Pages v. Seliman-Tapia, 134 So. 3d 536 (Fla. 3d DCA 2014)
   (affirming dismissal of a civil action under the Stand Your Ground law where the trial court held an
   evidentiary hearing and applied the preponderance of the evidence standard). The Officers announce their
   intention to raise the immunity but do not brief it to avoid attaching evidentiary materials to this motion to
   dismiss, given that all of Plaintiffs’ other claims are not subject to attack using material outside the four
   corners of the complaint.


                                                        33
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 34 of 35



   “gross negligence” theory, but all allegations surrounding the wrongful death claim in the

   Complaint deal with the Officers’ use of excessive force against Ethan. Thus, Plaintiffs cannot—

   as a matter of law—state a wrongful death claim based on gross negligence. Count VI should be

   dismissed with prejudice.

      D. Count VII, for intentional infliction of emotional distress claim against all four
         Officers, is barred by official immunity

          In Florida, a government officer cannot be held liable for acts committed in the scope of

   his employment unless he “acted in bad faith or with malicious purpose or in a manner exhibiting

   wanton and willful disregard for human rights, safety, or property.” Fla. Stat. § 768.28(9)(a). An

   officer acts within the scope of his employment if “(1) the conduct is of the kind the employee is

   hired to perform, (2) the conduct occurs substantially within the time and space limits authorized

   or required by the work to be performed, and (3) the conduct is activated at least in part by a

   purpose to serve the master.” Sussman v. Fla. E. Coast Props., Inc., 557 So. 2d 74, 76 (Fla. 3d

   DCA 1990).

          Though Plaintiffs allege (in a conclusory manner) that the Officers were acting outside

   the scope of their employment, the actual conduct they engaged in—responding to a vandalism

   complaint and effecting an arrest—is precisely the kind of conduct the Officers were hired to

   perform, it occurred while they were on duty, and it was activated at least in part by a purpose to

   serve their employer, the County. Plaintiffs’ conclusory allegation that the Officers are not

   immune from an intentional infliction of emotional distress claim is unavailing. Eleventh Circuit

   precedent holds that claims for intentional infliction of emotional distress against police officers

   are categorically barred by the sovereign immunity statute. Weiland, 792 F.3d at 1330; see also

   Casado v. Miami-Dade County, 340 F. Supp. 3d 1320, 1330 (S.D. Fla. 2018) (dismissing

   intentional infliction of emotional distress claims with prejudice as barred by section

   768.28(9)(a)). Count VII should be dismissed with prejudice.



                                                   34
Case 1:16-cv-22254-DPG Document 99 Entered on FLSD Docket 06/24/2019 Page 35 of 35



                                           CONCLUSION

          The Fourth Amended Complaint should be dismissed, in its entirety, with prejudice.

   Dated: June 24, 2019                                Respectfully submitted,

                                                       ABIGAIL PRICE-WILLIAMS
                                                       Miami-Dade County Attorney
                                                       Stephen P. Clark Center
                                                       111 N.W. 1st Street, Suite 2810
                                                       Miami, Florida 33128
                                                       (305) 375-5151

                                                       By: s/ Anita Viciana
                                                       Anita Viciana
                                                       anita@miamidade.gov
                                                       Florida Bar. No. 115838
                                                       Bernard Pastor
                                                       pastor@miamidade.gov
                                                       Florida Bar No. 46582
                                                       Assistant County Attorneys

                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 24, 2019, I electronically filed the foregoing document using

   CM/ECF and copy of the foregoing was served this day on all counsel of record via CM/ECF.

                                                       s/ Anita Viciana
                                                       Anita Viciana
                                                       Assistant County Attorney




                                                  35
